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Key Findings
        Results from the Study show that the DC Community’s attitude is unique among the Test
Areas - and is decidedly negative toward Defendants. While the Test Areas differ from each other
in geographic location, demographic composition and political party alignment, the three other
Test Areas produced remarkably similar results on most questions in the survey, with the DC
Community standing apart. By measure, the DC Community attitude toward the Events of January
6th and toward all defendants associated with those events proves to be an outlier. The response
distributions from the DC Community deviate considerably from both the medians and means of
the response distributions throughout the Study5.

        Key differences between the DC Community and other Test Areas fall into at least five
general categories: (1) prejudgment, (2) personal impact and perceived victimization, (3) exposure
to information related to the case(s) 6, (4) recognition and disclosure of bias, and (5) eligible
population size. Key findings from each category are detailed below:


    I.   Prejudicial Prejudgment

        The Study shows that the DC Community is saturated with potential jurors who harbor
actual bias against Defendants. In total, 91% of DC Community respondents who answered all
of the prejudgment test questions admit making at least one prejudicial prejudgment on issues
related to the case(s), while the other Test Areas admit doing so at rates from 49% to 63%.7 This
bias is not only more prevalent in the DC Community, but it is also more intense. The DC
Community also admits making more than one prejudicial prejudgment at a much higher rate
than respondents from the other Test Areas. In fact, 30% of DC Community respondents admit
that they have already made every prejudicial prejudgment tested for in the survey – double
the rate of the next highest Test Area8.

       Of the four questions used to test for prejudicial prejudgment, the DC Community indicates
prejudging decisively against Defendants on each question, disclosing that it is more likely to find
Defendants “guilty” than “not guilty” and opining that the Events of January 6th were criminal in
nature, that all who entered the U.S. Capitol planned in advance to do so, and that all of the
Events of January 6th were racially motivated. The three other Test Areas indicated much lower –
and more similar - rates of prejudicial prejudgment9:

5
 Appendix B - Frequency Distribution Tables
6
 Specifically, case 1:21-cr-00028-APM in D.D.C. as to Meggs and case 1:22-cr-00015-APM in D.D.C. as to Caldwell, and,
generally, any other similar case, including those listed on the U.S. Department of Justice website as “Capitol Breach Cases.”
https://www.justice.gov/usao-dc/capitol-breach-cases.
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  Figure 2a.
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  Figure 2d.
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  Figure 1a-d.

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•    Q3. 72% of DC Community respondents said that they are likely to find Defendants guilty
     – even when given the choice, “It is too early to decide.” The median in the Study was 48%.

•    Q5. 85% of the DC Community characterizes the Events of January 6th as acts that are
     criminal in nature (insurrection, attack or riot), even when given options to reserve judgment
     on that question. The median in the Study was 54%.

•    Q6. 71% of the DC Community believes that all who entered the U.S. Capitol without
     authorization planned in advance to do so, even when offered options to reserve judgment on
     that question. The median in the Study was 49%.

•    Q9. Over 40% of the DC Community stated they believe all the Events of January 6th were
     racially motivated, even when offered options to reserve judgment on that question. The
     median in the Study was 20%.

       Respondents in all Test Areas overwhelmingly rejected answer choices that distinguish
individual circumstances from the “group” of all people allegedly involved with the Events of
January 6th, opting instead to generalize opinions to the group.

•    Q6. asked respondents if they believe that individuals who entered the U.S. Capitol on
     January 6, 2021, had planned to do so in advance or if they had decided that day to do it.
     Only 12%-16% of respondents from the Test Areas selected the answer that indicates they
     would consider this question on a case-by-case basis (“Some planned to do so in advance,
     and some decided that day.”). Another 4-9% said that they don’t know. The remaining
     respondents, around 80% in each Test Area, held a single opinion about everyone included in
     the group.10
•    Q9. asked respondents if they believe that the Events of January 6th were racially motivated.
     3-5% in each Test Area said they did not know, while 8%-22% said, “Some were, and some
     weren’t.” The remaining 76%-89% from each Test Area responded to the question with a
     single opinion about the motivation for all, rejecting the option to acknowledge differences
     among the group.11
•    Q3. asked respondents if they are more likely to find a defendant charged with crimes related
     to the Events of January 6th “guilty” or “not guilty” OR if it is “too early to decide.” Only 18%-
     25% across the Test Areas think that it was too early to decide. Across the areas, 75%-82%
     of respondents proceeded to select how they are likely to vote if selected as a juror for such a
     defendant – without any details on the identity of the defendant, the circumstances of the
     case, the evidence or a defense.12 Lacking any information about the hypothetical


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   Figure 1c.
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Table 1.
A. Number of potential jurors who have not made a prejudicial prejudgment against Defendants.




B. Number of potential jurors who have not decided they are more likely to find Defendants guilty.




C. Number of potential jurors “never or almost never” exposed to information re: Events of Jan. 6.




D. Number of potential jurors who did not feel “personally affected,” experience restriction on
their free movement, feel increased concern for their safety or the safety of people important to
them, or identify with a group that they believe was targeted.




E. Number of potential jurors who do not identify with a group or class of people they believe was
targeted by the Events of January 6th.




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                             STUDY DESIGN AND METHODOLOGY

      A. Overview

       If a jury is to reflect the voice of the community, then the voice of the community can
speak for its jury. Finding the real truth in the community voice, however, depends on first
asking the appropriate questions in the appropriate way to the appropriate people. The findings
contained in this report are the results of a good-faith effort to do all of these things to the
greatest extent possible. To complete this comparative community attitude study (“Study”), In
Lux Research (“ILR”) deployed an identical community attitude survey (“CAS”) in four separate
federal venue units, the United States District Court for the District of Columbia, the United
States District Court for the Middle District of Florida – Ocala Division, the United States
District Court for the Eastern District of North Carolina, and the United States District Court for
the Eastern District of Virginia (collectively the “Test Areas”). To eliminate any difference in the
delivery of survey questions and any resulting bias, an identical, pre-recorded survey script
was used to facilitate the interviews in all cases. Individuals randomly selected from the eligible
jury pool in each Test Area were contacted telephonically. The survey questionnaire and
responses were exchanged through an interactive voice response (“IVR”) method, which
controls the presentation of the survey questions, captures responses entered via touchtone,
and prompts respondents to answer questions. This standardized, structured method was
selected for a number of reasons, namely that respondents were afforded a private
environment for participation and that responses were not subject to any influence or
interpretation by interviewers.

       No training of interviewers was required, as interviewers were not used beyond the
recording of the audio file used for the pre-recorded interview. In fact, no interpretation of
actual responses was required for this Study. Any inferences and calculations made from
results were made equally and uniformly across all Test Areas. The Study is intended to be
fully replicable, and the raw data has been preserved. Interviews were conducted on exactly
the same days in each Test Area between February 14 and March 16, 2022. The average



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completed interview took respondents just over seven minutes to finalize, which is under the
ten-minute limit recommended by the American Society of Trial Consultants’ Professional
Standards for Venue Surveys (“ASTC Standards”), which advise that longer studies can
decrease both the response rate and the reliability of data. This Study avoided these risks by
utilizing a design that facilitated a favorable survey length.

       B. Eligibility and Sampling

       So that sampling of fair cross-sections representative of realistic juries would naturally
occur in the Study, every reasonable effort was taken to replicate official processes used to
create master jury wheels and summon jurors1 when creating the master lists and randomly
selecting for inclusion in the Study. The Study’s master lists were created, primarily, with a
complete and then-current list of voters in each Test Area and, secondarily, with a
supplemental list of consumers in each Test Area. Any duplicate records coming in with the
second list were removed prior to the merging of the lists into the master list. Respondent
households were randomly selected from the master lists of likely eligible jurors within each
Test Area’s boundaries. In line with the ASTC Standards, all eligible households2 in each Test
Area had an equal and known nonzero chance of being chosen and an equal and nonzero
chance of an having an eligible respondent interviewed. Each phone number randomly
selected was called back up to seven times, or until contact was made, on various days of the
week and at different times of the day.

       C. Demographics and Representativeness

        Questions to obtain demographic characteristics of survey respondents were asked
after the more probative questions. The Study gathered information on gender, age, education,
race, ethnicity and political party, which can be compared to available objective data to confirm
representativeness. Distributions of responses to these questions are documented at Appendix
A (pages 3-4) and indicate that a fair cross-section of each Test Area was achieved.

       D. The Questionnaire




1 https://www.dcd.uscourts.gov/sites/dcd/files/JurySelectionPlan.pdf
2 Only households with an available phone number were contacted.




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        In an effort to measure only existing public opinion related to these cases, special care
was taken not to influence survey respondents’ opinions in any particular direction and not to
present systematically biased information. The intent of the Study was to detect honest
opinions, so every effort was made to create an environment conducive to this end. Single
response questions, where respondents make one choice from among several clear options
per question, were administered by a recorded female, accent-neutral voice. Each CAS utilized
the same audio file, in the same order, to conduct every interview. The survey introduction
included neutral explanations that described the auspices under which the survey was being
conducted, specifically that the survey was being conducted in their area to document how
residents “really feel about several issues” and that the “results would be compared to other
polls and reports covering the same topics.”3 The wording and tone of the introduction was
such that it would be impossible to infer any desirable/undesirable response or any motivation
for conducting the CAS, other than to collect honest opinions on several issues and compare
the results to the results of other surveys on the same issues. In utilizing such neutral
language, the introduction avoided the effects of indirect screening and non-response bias.

        By agreeing to continue, respondents indicated they would provide information on how
they “really feel about several issues.” While it is impossible to know if any respondent
intentionally gave dishonest answers, there is no obvious incentive to do so in this context. Any
differences between responses offered in this environment and those elicited in the jury
selection process should be considered in recognition of the various motivations for being less
forthcoming in the jury selection process and the unlikelihood of any such motivations to
advocate against one’s beliefs on an opinion survey.

       E. Screening

        There are limitations in screening survey respondents to the same degree one would be
screened for jury service eligibility. For example, asking questions sufficient to reveal all
disqualifying or exempting factors or about the exercise of an acceptable excuse would result
in such long and numerous questions that respondents could become frustrated and confused.
Differences in tolerance for this could create an undesirable non-response bias more
detrimental to quality than any resulting overinclusion might cause. Asking too many questions

3 Appendix A - Questionnaire at p. 1




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about eligibility after employing proper sampling procedures would squander an opportunity to
ask probative questions of more value at the expense of confirming something already
established.

        Respondents were asked one screening question at the end of the interview confirming
that they are either “registered to vote or have a driver license.” This question was used to
validate the appropriateness of the Study’s source lists, which included, primarily, a complete
and then-current list of voters in each Test Area and, secondarily, a supplemental list of
consumers in each Test Area, with duplicate phone numbers removed. Voter rolls restrict
eligibility based on several of the same statuses that may disqualify potential jurors (e.g., lack
of citizenship, criminal status, inclusion on another jurisdiction’s list), and the ability to
understand English was imputed by the respondent’s offering of valid responses to the CAS.
Because inclusion on the voter rolls was ascertained contemporaneously with deployment of
the Study, the threat of stale voter files producing unacceptable numbers of ineligible
individuals was lower than found in jury summoning where lists possibly created years prior
are used for summoning jurors. Further, many people are registered to vote but do not know
that they are registered, resulting in the Study having superior knowledge of voter status in
some cases. The nearly absolute proportion of respondents who did not deny being registered
to vote or having a driver license (97.45% for the Study)4, considered with the high percentage
of the Study’s master list made up of current and valid registered voters, with their most recent
phone number appended, shows that the master lists used for each Test Area sufficiently
screened for inclusion in a “qualified study.”5

        After each eligible respondent agreed to participate, the interview began with an
instruction that respondents could push zero at any time to repeat a question. Additionally, the
survey automatically repeated a question two times if no response was given, before marking it
as having no response and continuing to the next question. Repeating questions and moving
past questions to which respondents offer no timely answer allows the greatest opportunity for
respondents to clearly understand every question before answering and ensures that all

4 Appendix B – Frequency Distribution Tables at p.4
5 “‘Qualified’ means only that the survey be well-conceived, impartially conducted, and accurately recorded,” see

ABA Standards for Criminal Justice: Fair Trial and Free Press Standard 8-3.3. Change of venue or continuance
(1992). “A survey should be acceptable even when it is conducted (as it usually is) at the behest and expense of
an interested party,” Corona v. Superior Court, 24 Cal. App. 3d 872 (1972).


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answers were provided with a clear understanding of the question. When a question went
unanswered, that response was not included in the total responses figure among valid
answers but was recorded as “no answer” and listed separately below the valid response area
on the frequency distribution tables.

       F. Questions to Measure Awareness of the Events of January 6th and of Defendants

        The first question of the survey questionnaire asks respondents if they are “… aware of
the demonstrations that took place at the U.S. Capitol Building on January 6, 2021[.]” The
purpose of this question was, as suggested by the ASTC Standards, to identify the proportion
of the eligible population that is aware of events central to the cases against Defendants. The
U.S. Department of Justice hosts a webpage with a list of defendants, including Defendants, it
describes as “… charged in federal court in the District of Columbia related to crimes
committed at the U.S. Capitol in Washington, D.C, on Wednesday, Jan. 6, 2021.” The
webpage is titled “Capitol Breach Cases.”6 These events are also commonly referred to as
“January 6th,” “J6,” the “Capitol Insurrection”, an “attack on the Capitol,” the “Capitol Riots,” the
“Capitol Siege,” the “Capitol Breach,” “protests”, “demonstrations,” “a rally,” and various other
names. The word “demonstrations” was selected to communicate this question to respondents
because ILR considers it to be the most neutral word that could point respondents to the
Events in question with the necessary specificity. This specificity is important because only
respondents who claimed to know about the “demonstrations that took place at the U.S.
Capitol Building on January 6, 2021” were counted in the results of the Study, as its objective
was to investigate their attitudes about those events and Defendants, who are charged with
crimes related to those events. Had that opening question been at all slanted, various forms of
bias would have been inflicted on the Study, compromising its evidentiary value.

       G. Questions to Measure Respondents’ Prejudgment of a Case

        The Study asks respondents how they are likely to vote if called as a juror for a January
6th defendant.7 This is a step beyond simply asking for predictions of how respondents predict
a case end up; this scenario places them in a position to reveal any prejudgment. Answers to


6 https://www.justice.gov/usao-dc/capitol-breach-cases
7 Appendix A – Questionnaire at p. 1




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this question (Q3.) are the predictions – from the respondents themselves - of how they are
likely to find Defendants if chosen as a juror. This is a direct question to detect a shifted burden
arising from a presumption of guilt. In addition to “guilty” and “not guilty,” respondents were
offered the option of choosing that it is “too early to decide,” usually a gentle reminder of the
socially acceptable response, but that option was declined most of the time. Offering such a
socially acceptable response risks inflating the rate of the ideal answer, but ILR chose to give
that option, rather than forcing respondents to make a prejudgment. Even so, only about 20%
of respondents across the Test Areas think it is too early to decide how they would vote to find
a January 6th defendant, including Defendants, even without specifics on the Defendant, the
charges, the circumstances, testimony, evidence or a defense. Most respondents did not
require a trial or evidence at all to make this decision, let alone a fair trial. In fact, 72% of the
DC Test Area presumes it would find Defendants guilty. 48% of both the VA Eastern and NC
Eastern Test Areas presume they would find Defendants guilty, and 37% of the FL Middle –
Ocala Division presumes it would find Defendants guilty.8

        “January 6th” cases are extraordinary in that there are hundreds of defendants and a
less discernable victim than in most other instances such a test of awareness might be
undertaken. Consideration was given at the outset of the Study to including specific names of
Defendants, but, given the sheer number of defendants in all related cases and the relatively
small population of the District of Columbia, ILR felt that it might be unreasonable to presume
that every defendant could conduct a similar study without significantly depleting both the
survey respondent pool and the available jury pool and risking actual contact with eventual
jurors. ILR elected to launch a pilot deployment of the survey with a questionnaire that offers
answer choices that give options to generalize opinions to all Defendants, to acknowledge
distinctions between Defendants, and to reserve judgment. The survey is well-suited to
ascertain whether respondents’ opinions would be materially different if given names of
specific individuals or groups. After reviewing preliminary results from the pilot test period, it
was clear that repeated offers to differentiate between defendants were largely rejected, as
described in full detail below. Essentially, it became apparent that respondents, generally, did
not care about the specifics. They issued and reserved judgment based on information they


8 Figure 1a.; Appendix B – Frequency Distribution Tables at p. 1




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had or on the acknowledgment that they did not have the necessary information about any
Defendant at the time of the survey. In a conscious effort to prevent potential jurors from
learning information about the Events and Defendants from the Study, which would be in
conflict with the ASTC Standards, ILR decided that using specific Defendants’ names in the
Study would unnecessarily increase the risk of confusion during the survey and could create or
reinforce bias, with no expected improvement to the reliability of the results. Therefore, ILR
found that the existing script and recordings for the survey were ideal for the circumstances,
and the pilot deployment transitioned to a full deployment of the surveys, as suggested by the
ASTC Standards.

        The Study aimed to fully test whether each Defendant’s name needs to be used in a
CAS to detect actual bias or support a finding of presumed bias against that Defendant.
Several questions in the Study offered answers that invited respondents to acknowledge that
January 6th defendants should be individually considered on questions of guilt, motivation,
premeditation and participation. Respondents repeatedly declined to accept this proposition
and, instead, made the same prejudgments or held the same opinion about ALL defendants.9
There are differences among and between the Test Areas on the how these generalized
opinions break. The results of this Study reveal those differences. Because respondents
overwhelmingly show no interest in considering any one January 6th defendant as different
from the group of all defendants, it was not necessary to interpose names into the survey
questions at the time this Study was conducted. Doing so could have created or reinforced
prejudicial associations between Defendants and with the Events of January 6th. Requiring
such specificity could lead to multiple, redundant surveys being conducted in the District of
Columbia Community and could actually inject bias into the Community if not performed in a
neutral, non-biasing way.




                                                                      8383 Wilshire Blvd. Suite 935
9 Q3. Figure 1a.; Appendix B – Frequency Distribution Tables at p.1
                                                                      Beverly Hills, CA 90211
Q6. Figure 1c.; Appendix B – Frequency Distribution Tables at p.2     contact@inluxresearch.com
Q9. Figure 1d.; Appendix B – Frequency Distribution Tables at p.2


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  Q5. In your opinion, which of the following terms best characterizes
  The Events of January 6th?
  1|An insurrection
  2|An attack
  3|A riot
  4|A protest that got out of control
  5|A rally
  6|If you don’t know

  Q6. Do you believe that the individuals who entered the Capitol on
  January 6th planned to do it in advance or decided to do it that day?
  1|If you think participants planned to enter the Capitol in advance
  2|If you think they decided to do it that day
  3|If you think some planned in advance to do it, and some decided that
  day.
  4|If you do not have enough information to form an opinion at this
  time.


We want to know if you were personally affected by The Events of January
6th. Please tell me if you feel that you experienced any of the following
as a result of The Events of January 6th.
[READ THE SUMMARY OF THE TOPIC AND THEN THE QUESTION TO BE SURE EVERYBODY HAS A
CHANCE TO PROCESS THE QUESTION BEFORE IT IS TIME TO ANSWER.]

  Q7. Inconvenience or restriction on your movement –
  Have you experienced any restriction on your movement due to curfews,
  road closures or restricted access imposed in response to the Events
  of January 6th?
  1|Yes
  2|No
  3|If you are unsure or don’t remember

  Q8. Increased concern about your own safety or the safety of people
  important to you –
  Have you experienced increased concern about your own safety or the
  safety of people important to you due to The Events of January 6th?
  1|Yes
  2|No
  3|If you are unsure or don’t remember

  Q9. Do you believe The Events of January 6th were racially motivated?
  1|Yes
  2|No
  3|Some were, some weren’t.
  4|If you don’t know

   Q10. If you were a juror, would you worry that finding a January 6th
   defendant Not Guilty would be an unpopular decision that might impact
   your career or friendships?
   1|Yes
   2|No
   3|Maybe



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  Q11. Would it be possible for you to be a fair and unbiased juror for
  a January 6th Defendant?
  1|Yes
  2|No
  3|Maybe

  Q12. Do you believe your neighbors would be fair and unbiased jurors
  for a January 6th Defendant?
  1|Yes
  2|No
  3|Maybe

To be sure all members of the community are fairly represented in this
study, we will close with a few demographic questions.

  Q13. What is your gender?
  1|Male
  2|Female

  Q14. In which category does your age fall?
  1|18-34
  2|35-49
  3|50-64
  4|65 and up

  Q15. Are you Hispanic?
  1|Yes
  2|No

  Q16. What is your race?
  1|White
  2|Black/African American
  3|Asian
  4|Two or more races

  Q17. What is your highest level of education?
  1|Have not earned a high school diploma
  2|High school graduate or equivalent
  3|Some college, no degree
  4|Associate degree or technical certificate
  5|Bachelor's degree
  6|Graduate or professional degree

  Q18. With which Political Party do you most closely identify?
  1|Republican
  2|Democrat
  3|Independent
  4|Another party
  5|Unsure

   Q19. Are you registered to vote OR do you have a driver's license?
   1|Yes
   2|No
   3|Not sure
Thank you for sharing your opinions with me today. We can be reached at
[PHONE].
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DC     311    25.85% Q10.         NOTGUILTY_NEG_EFFECTS               Median    Mean                DC             FL MIDDLE (OCALA)         NC EASTERN              VA EASTERN
FL     311    25.85%           226 Yes                                18.92%   18.79%           60       19.29%            55    17.68%            57    19.66%            54    18.56%
NC     290    24.11%           786 No                                 65.23%   65.34%          202       64.95%           199    63.99%           190    65.52%           195    67.01%
VA     291    24.19%           191 Maybe                              15.29%   15.88%           49       15.76%            57    18.33%            43    14.83%            42    14.43%
ALL   1203   100.00%          1203 Total                             100.00%   100.00%         311       100.00%          311   100.00%           290   100.00%           291   100.00%
                                  No Answer                                                     53       14.56%            63    16.84%            57    16.43%            74    20.27%
                                  Total Asked                                                  364                        374                     347                     365
                                  Valid Rate                                             Valid %         85.44% Valid %          83.16% Valid %          83.57% Valid %          79.73%


DC     308    25.75% Q11.         POSSIBLE YOU BE FAIR                Median    Mean                DC             FL MIDDLE (OCALA)         NC EASTERN              VA EASTERN
FL     310    25.92%           796 Could                              67.45%   66.56%          216       70.13%           190    61.29%           187    65.38%           203    69.52%
NC     286    23.91%           243 Could Not                         19.73%     20.32%          54        17.53%           75    24.19%            58    20.28%            56    19.18%
VA     292    24.41%           157 Maybe                             13.34%     13.13%          38        12.34%           45    14.52%            41    14.34%            33    11.30%
ALL   1196   100.00%          1196 Total                             100.00%   100.00%         308       100.00%          310   100.00%           286   100.00%           292   100.00%
                                  No Answer                                                      56      15.38%            64    17.11%            61    17.58%            73    20.00%
                                  Total Asked                                                   364                       374                     347                     365
                                  Valid Rate                                             Valid %         84.62% Valid %          82.89% Valid %          82.42% Valid %          80.00%


DC     308    25.80% Q12.         POSSIBLE NEIGHBORS FAIR             Median    Mean                DC             FL MIDDLE (OCALA)         NC EASTERN              VA EASTERN
FL     309    25.88%           525 Yes                                43.00%   43.97%          164       53.25%           113    36.57%           129    45.10%           119    40.89%
NC     286    23.95%           295 No                                 24.08%   24.71%           62       20.13%            94    30.42%            66    23.08%            73    25.09%
VA     291    24.37%           374 Maybe                             32.41%     31.32%          82        26.62%          102    33.01%            91    31.82%            99    34.02%
ALL   1194   100.00%          1194 Total                             100.00%   100.00%         308       100.00%          309   100.00%           286   100.00%           291   100.00%
                                  No Answer                                                        56    15.38%            65    17.38%            61    17.58%           74     20.27%
                                  Total Asked                                                   364                       374                     347                     365
                                  Valid Rate                                             Valid %         84.62% Valid %          82.62% Valid %          82.42% Valid %          79.73%


DC     302    25.90% Q13.         GENDER                              Median    Mean                DC             FL MIDDLE (OCALA)         NC EASTERN              VA EASTERN
FL     300    25.73%           543 Male                               46.43%   46.57%          122       40.40%           152    50.67%           119    42.20%           150    53.19%
NC     282    24.19%           623 Female                             53.57%   53.43%          180       59.60%           148    49.33%           163    57.80%           132    46.81%
VA     282    24.19%          1166 Total                             100.00%   100.00%         302       100.00%          300   100.00%           282   100.00%           282   100.00%
ALL   1166   100.00%              No Answer                                                        62    17.03%            74    19.79%            65    18.73%           83     22.74%
                                  Total Asked                                                   364                       374                     347                     365
                                  Valid Rate                                             Valid %         82.97% Valid %          80.21% Valid %          81.27% Valid %          77.26%


                       Q14.       AGE                                 Median    Mean                DC             FL MIDDLE (OCALA)         NC EASTERN              VA EASTERN
DC     299    25.78%            53 18-34                               4.68%   4.57%            12        4.01%            16     5.35%             7     2.49%            18     6.41%
FL     299    25.78%           114 35-49                               9.96%   9.83%            34       11.37%            21     7.02%            24     8.54%            35    12.46%
NC     281    24.22%           309 50-64                              24.13%   26.64%           73       24.41%            71    23.75%            67    23.84%            98    34.88%
VA     281    24.22%           684 65+                                62.04%   58.97%          180       60.20%           191    63.88%           183    65.12%           130    46.26%
ALL   1160   100.00%          1160 Total                             100.00%   100.00%         299       100.00%          299   100.00%           281   100.00%           281   100.00%
                                  No Answer                                                        65    17.86%            75    20.05%            66    19.02%           84     23.01%
                                  Total Asked                                                   364                       374                     347                     365
                                  Valid Rate                                             Valid %         82.14% Valid %          79.95% Valid %          80.98% Valid %          76.99%



DC     298    25.80% Q15.         HISPANIC                            Median    Mean                DC             FL MIDDLE (OCALA)         NC EASTERN              VA EASTERN
FL     300    25.97%            63 Hispanic                           5.35%     5.45%           13         4.36%           19     6.33%            11     3.94%            20     7.19%
NC     279    24.16%          1092 Not Hispanic                      94.65%     94.55%         285        95.64%          281    93.67%           268    96.06%           258    92.81%
VA     278    24.07%          1155 Total                             100.00%   100.00%         298       100.00%          300   100.00%           279   100.00%           278   100.00%
ALL   1155   100.00%              No Answer                                                        66    18.13%            74    19.79%            68    19.60%           87     23.84%
                                  Total Asked                                                   364                       374                     347                     365
                                  Valid Rate                                             Valid %         81.87% Valid %          80.21% Valid %          80.40% Valid %          76.16%



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                       Q16.       ETHNICITY/RACE                          Median     Mean                DC             FL MIDDLE (OCALA)         NC EASTERN              VA EASTERN
DC     296    25.83%           737 White                                  69.13%    64.31%          117       39.53%           237    80.07%           196    70.50%           187    67.75%
FL     296    25.83%           278 Black/African American                 18.94%    24.26%          146       49.32%            27     9.12%            59    21.22%            46    16.67%
NC     278    24.26%            21 Asian                                   1.18%    1.83%             4        1.35%             3     1.01%             1     0.36%            13     4.71%
VA     276    24.08%           110 Two or more races                       9.80%     9.60%           29         9.80%           29     9.80%            22     7.91%            30    10.87%
ALL   1146   100.00%          1146 Total                                  100.00%   100.00%         296       100.00%          296   100.00%           278   100.00%           276   100.00%
                                  No Answer                                                             68    18.68%            78    20.86%            69    19.88%           89     24.38%
                                  Total Asked                                                        364                       374                     347                     365
                                  Valid Rate                                                  Valid %         81.32% Valid %          79.14% Valid %          80.12% Valid %          75.62%


                       Q17.       EDUCATION                               Median     Mean                DC             FL MIDDLE (OCALA)         NC EASTERN              VA EASTERN
                                40 No high school diploma                  3.37%    3.48%               11     3.70%             9     3.03%            13     4.69%            7      2.53%
                               200 High school graduate or equivalent     18.86%    17.42%              49    16.50%            63    21.21%            59    21.30%           29     10.47%
DC     297    25.87%           232 Some college, no degree                19.49%    20.21%              49    16.50%            75    25.25%            59    21.30%           49     17.69%
FL     297    25.87%           119 Associate's or technical certificate   10.47%    10.37%           19        6.40%            42    14.14%            39    14.08%           19      6.86%
NC     277    24.13%           243 Bachelor's degree                      18.69%    21.17%           51       17.17%            51    17.17%            56    20.22%           85     30.69%
VA     277    24.13%           314 Graduate or professional degree        25.48%    27.35%          118       39.73%            57    19.19%            51    18.41%           88     31.77%
ALL   1148   100.00%          1148 Total                                  100.00%   100.00%         297       100.00%          297   100.00%           277   100.00%           277   100.00%
                                  No Answer                                                          67       18.41%            77    20.59%            70    20.17%            88    24.11%
                                  Total Asked                                                       364                        374                     347                     365
                                  Valid Rate                                                  Valid %         81.59% Valid %          79.41% Valid %          79.83% Valid %          75.89%


                       Q18.       PARTY                                   Median     Mean                DC             FL MIDDLE (OCALA)         NC EASTERN              VA EASTERN
                               334 Republican                             32.91%    29.32%              17     5.80%           136    45.95%            88    31.88%           93     33.94%
DC     293    25.72%           467 Democrat                               35.09%    41.00%          197       67.24%            77    26.01%            98    35.51%           95     34.67%
FL     296    25.99%           254 Independent                            23.56%    22.30%              51    17.41%            66    22.30%            69    25.00%           68     24.82%
NC     276    24.23%            24 Another party                           2.14%    2.11%                4     1.37%             2     0.68%            10     3.62%            8      2.92%
VA     274    24.06%            60 Unsure                                  4.53%     5.27%           24         8.19%           15     5.07%            11     3.99%            10     3.65%
ALL   1139   100.00%          1139 Total                                  100.00%   100.00%         293       100.00%          296   100.00%           276   100.00%           274   100.00%
                                  No Answer                                                          71       19.51%            78    20.86%            71    20.46%            91    24.93%
                                  Total Asked                                                       364                        374                     347                     365
                                  Valid Rate                                                  Valid %         80.49% Valid %          79.14% Valid %          79.54% Valid %          75.07%


DC     296    26.06% Q19.         REG VOTE OR DL                          Median     Mean                DC             FL MIDDLE (OCALA)         NC EASTERN              VA EASTERN
FL     294    25.88%          1107 Yes                                    97.62%     97.45%         285        96.28%          289    98.30%           267    98.16%           266    97.08%
NC     272    23.94%            19 No                                      1.28%     1.67%           10         3.38%            2     0.68%             3     1.10%             4     1.46%
VA     274    24.12%            10 Unsure                                  0.88%     0.88%            1         0.34%            3     1.02%             2     0.74%             4     1.46%
ALL   1136   100.00%          1136 Total                                  100.00%   100.00%         296       100.00%          294   100.00%           272   100.00%           274   100.00%
                                  No Answer                                                          68       18.68%            80    21.39%            75    21.61%            91    24.93%
                                  Total Asked                                                       364                        374                     347                     365
                                  Valid Rate                                                  Valid %         81.32% Valid %          78.61% Valid %          78.39% Valid %          75.07%




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